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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BUNGE, S.A.,                                         §
    Plaintiff,                                       §
                                                     §
v.                                                   §   Civil Action No. 1:22-cv-00026-RGA
                                                     §
ADM INTERNATIONAL SÀRL,                              §
     Defendant,                                      §
                                                     §
AMERICAN PETROLEUM TANKERS X                         §
LLC;   ARCHER-DANIELS-MIDLAND                        §
COMPANY; ASHLAND SPECIALTY                           §
INGREDIENTS    G.P.;   CROWLEY                       §
GLOBAL SHIP MANAGEMENT, INC.;                        §
MOSAIC FERTILIZER, LLC                               §
                                                     §
        Garnishees.                                  §



                  DEFENDANT’S MOTION FOR EXTENSION OF TIME
              TO RESPOND TO PLAINTIFF’S FIRST AMENDED COMPLAINT


       Pursuant to Federal Rule of Civil Procedure 6(b), Defendant ADM International Sàrl

(“Defendant” or “ADMI”), by and through undersigned counsel and pursuant to the restricted

appearance provisions of Rule E(8) of the Supplemental Admiralty Rules, hereby files this motion

for extension of time for responding to Plaintiff Bunge, S.A.’s (“Plaintiff”) First Amended Verified

Complaint (the “First Amended Complaint”). [D.I. 30.] Defendant respectfully shows the Court

as follows:



                      PROCEDURAL HISTORY AND BACKGROUND

       1.       On January 6, 2022, Plaintiff filed a Verified Complaint with Request for Issue of

Process of Maritime Attachment and Garnishment (the “Complaint”).              [D.I. 1.]   Plaintiff


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contemporaneously filed an ex parte Motion and Memorandum for Order for Issuance of Process

of Maritime Attachment and Garnishment (the “Motion for Attachment”) [D.I. 3], a Motion and

Memorandum for Appointment for Service of Writ of Maritime Attachment and Garnishment (the

“Service Motion”) [D.I. 4], and Applications for Writ of Maritime Attachment and Garnishment

for each Garnishee [D.I. 5-14.] The Motion for Attachment and Service Motion were granted on

January 7, 2022 [D.I. 17-18] and Writs for Maritime Attachment and Garnishment were issued

that day.

       2.      Garnishees were served with their respective Writ for Maritime Attachment and

Garnishment and accompanying Interrogatories (collectively the “Writs of Attachment and

Interrogatories”) on January 13, 2022. [D.I. 20.]

       3.      On January 26, 2022, Defendant filed a dispositive motion seeking to vacate the

order granting maritime attachment, vacate the Writs of Attachment, and for dismissal of the

Verified Complaint (the “Motion to Vacate”). [D.I. 21.] On that same day, Defendant requested

that the Court set a prompt hearing on its Motion to Vacate pursuant to Admiralty Rule E(4)(f)

(the “Request for Rule E Hearing”). [D.I. 22.]

       4.      On February 3, 2022, Plaintiff, without leave of court, filed its First Amended

Complaint. [D.I. 30.]

       5.      On February 4, 2022, Plaintiff filed a Notice of Dismissal relating to several

Garnishees that it omitted from its First Amended Complaint. [D.I. 31.]

       6.      To address the new allegations in the First Amended Complaint, Defendant filed a

Supplement to its Motion to Vacate on February 4, 2022. [D.I. 32.]

       7.      Later on February 4, 2022, Plaintiff filed a Response Opposing the Motion to

Vacate. [D.I. 33.]



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        8.     On February 8, 2022, Defendant filed a Reply in Support of its Motion to Vacate.

[D.I. 34.] On February 10, 2022, Plaintiff served a Supplement in Opposition to the Motion to

Vacate. [D.I. 36.]

        9.     On February 10, 2022, the Court held a hearing on Defendant’s Motion to Vacate

and Request for Rule E Hearing. The Court issued an oral order finding, in part, that:

               The motion to vacate the order (D.I. [21]) is GRANTED in part and
               DISMISSED as not ripe in part and moot in part. Specifically, the
               order as to Mosaic is VACATED. The order as to the garnishees
               who have been voluntarily withdrawn is moot. The order as to the
               other garnishees is not ripe.

[D.I. 35.]

        10.    At the hearing the Court instructed that:

               So, while my instinct is that this case ought to be just dismissed, I
               think the better thing to do, since I don't actually have to do that today,
               is I will just enter the limited Order vacating the garnishment as to
               Mosaic. I would ask the parties to meet and confer and report with
               some kind of joint status report in ten days how they want to proceed.
               If they want to proceed by filing motions and filing more briefing,
               they can agree to that.

[Exhibit 1, Transcript of February 10, 2022 Hearing on Motion to Vacate at 50:3-10]. The joint

status report is due on February 22, 2022.

        11.    On February 14, 2022, Plaintiff filed a Notice of Appeal as to the Court’s order

vacating the Supplemental Rule B garnishment writ issued to garnishee Mosaic Fertilizer, LLC.

[D.I. 37.]



                                            ARGUMENT

        12.    A court may, for good cause, extend the time to file a responsive pleading if a

request is made before the original time to respond expires. FED. R. CIV. P. 6(b)(1).



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        13.     Defendant’s response to the First Amended Complaint is currently due on February

17, 2022. Defendant, therefore, makes this request before the original time to respond has expired.

        14.     Defendant seeks a brief extension until March 18, 2022 to file a responsive pleading

to the First Amended Complaint.

        15.     Good cause exists for Defendant’s request. The requested extension will provide

the parties with time to complete their conferral and file a status report with the Court on February

22, 2022. The requested extension will also allow for thorough briefing on Defendant’s Motion

to Dismiss, which Defendant anticipates filing if the parties are unable to reach a resolution to this

matter during conferrals.

        16.     The brief extension would not cause substantial delay of the proceedings or

prejudice the Plaintiff.

        17.     Counsel for Defendant conferred with Plaintiff’s counsel on February 14-15, 2022

and provided a draft stipulation regarding the requested extension. The parties, however, have

been unable to reach an agreement as to the requested relief.

        18.     This Motion is made prior to the expiration of the deadline at issue and undersigned

counsel certifies that Defendant requests this extension and that counsel has sent a copy of the

request to the Defendant in compliance with L.R. 16.4.



                                          CONCLUSION

        WHEREFORE, Defendant respectfully requests that the Court grant this Motion and

extend its deadline to file a response to Plaintiff’s First Amended Complaint [D.I. 30] until March

18, 2022.

        DATED and FILED on February 15, 2022.



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                                                Respectfully submitted,

                                                RAWLE & HENDERSON LLP

                                          By:   /s/ Joelle Florax, Esq.
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                                                Counsel for Defendant
                                                ADM International Sàrl


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                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1.1

          I hereby certify, pursuant to D. Del. LR 7.1.1, that counsel for Defendant conferred with

counsel for Plaintiff on February 14-15, 2022 regarding the relief requested in its Motion for

Extension of Time and the parties have been unable to reach an agreement as to the requested

relief.



                                                      /s/ Joelle Florax, Esq.
                                                      Joelle Florax, Esquire




                    CERTIFICATION PURSUANT TO LOCAL RULE 16.4

          Pursuant to D. Del. LR 16.4, I hereby certify, that my client, Defendant ADM International

Sàrl, requests the relief stated herein and has been sent a copy of the request.



                                                      /s/ Joelle Florax, Esq.
                                                      Joelle Florax, Esquire




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